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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
 RUBINGH,
                                              HON. LINDA V. PARKER
       Plaintiffs,
 v                                            MAG. R. STEVEN WHALEN

 GRETCHEN WHITMER, in her official               STATE DEFENDANT’S
 capacity as Governor of the State of            MOTION TO DISMISS
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

       Defendants,

 CITY OF DETROIT,

       Intervening Defendant,

 ROBERT DAVIS,

       Intervening Defendant,

 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,

      Intervening Defendant.
 ___________________________________
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Case 2:20-cv-13134-LVP-RSW ECF No. 70, PageID.3352 Filed 12/22/20 Page 3 of 79



               STATE DEFENDANT’S MOTION TO DISMISS

      Defendants Governor Gretchen Whitmer, Secretary of State Jocelyn Benson,

and the Michigan Board of State Canvassers (the State Defendants) move for

dismissal of Plaintiffs’ amended complaint pursuant to Fed. R. Civ. Proc. 12(b)(4)

and (6), for the following reasons:

   1. Plaintiffs’ amended complaint challenges the legality of the November 3,

   2020 election and the subsequent tabulation of votes.

   2. Plaintiffs’ claims are barred by the doctrine of laches because Plaintiffs

   delayed unreasonably in raising their claims before this Court and the State

   Defendants were prejudiced by this delay.

   3. Plaintiffs’ claims are now moot because the election is over, the votes have

   been counted, and the presidential electors have been appointed and have

   finished voting. As a result, there is no relief that may be granted by this Court.

   4. Plaintiffs lack legal standing to raise their claims before this Court.

   5. Some or all of Plaintiffs’ claims are barred by the Eleventh Amendment.

   6. Plaintiffs’ federal constitutional claims should be dismissed because

   Plaintiffs fail to state a claim upon which relief may be granted.

   7. Plaintiffs’ state law claims should be dismissed because Plaintiffs fail to

   state a claim for which relief may be granted.

   8. Concurrence was sought for the relief requested in this motion, but was not

      obtained.
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       For these reasons and the reasons stated more fully in the accompanying

brief in support, Defendants Governor Gretchen Whitmer, Secretary of State

Jocelyn Benson, and the Michigan Board of State Canvassers respectfully request

that this Honorable Court enter an order dismissing Plaintiff’s complaint against

her in its entirety and with prejudice, pursuant to Fed. R. Civ. Proc. 12(b)(4) and

(6).

                                              Respectfully submitted,

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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
 RUBINGH,
                                              HON. LINDA V. PARKER
       Plaintiffs,
 v                                            MAG. R. STEVEN WHALEN

 GRETCHEN WHITMER, in her official            STATE DEFENDANTS’ BRIEF
 capacity as Governor of the State of         IN SUPPORT OF MOTION TO
 Michigan, JOCELYN BENSON, in her                     DISMISS
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

       Defendants,

 CITY OF DETROIT,

       Intervening Defendant,

 ROBERT DAVIS,

       Intervening Defendant,

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              STATE DEFENDANTS’ BRIEF IN SUPPORT OF
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             CONCISE STATEMENT OF ISSUES PRESENTED

       1.    Whether Plaintiffs’ claims are barred by the doctrine of laches?

       2.    Whether Plaintiffs’ claims should be dismissed because they are
             moot?

       3.    Whether Plaintiffs lack standing to bring their claims?

       4.    Whether some or all of Plaintiffs’ claims are barred by the Eleventh
             Amendment?

       5.    Whether Plaintiffs’ federal constitutional claims are without merit?

       6.    Whether Plaintiffs’ state law claims are without merit?




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                                  INTRODUCTION
       This case is one of the last of a series of lawsuits filed since Michigan held

 its general election on November 3, and it alleges the same litany of far-fetched

 claims of fraud and irregularity in the conducting of the November 3 general

 election. These made-up and misrepresented “fraud” claims focus on the City of

 Detroit’s election—and, in particular, on activities that took place at Detroit’s

 absent voter counting boards in the TCF Center—but these unsubstantiated claims

 have already been rejected by multiple courts. Plaintiffs’ complaint offers nothing

 other than conspiracy theories unaccompanied by any actual evidence of fraud. In

 addition, Plaintiffs’ make a number of bizarre allegations concerning the use of

 Dominion voting machines and software, as well as allegations concerning the

 counting of ballots in Antrim County. These allegations are similarly erroneous

 and based upon an incomplete understanding of Michigan’s elections.

       This Court has already held that Plaintiffs have failed to demonstrate a

 likelihood of success on their claims, and the State Defendants now request that the

 Complaint be dismissed in its entirety and with prejudice for the same reasons.




                                           1
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                            STATEMENT OF FACTS
       Plaintiffs’ amended complaint consists of over 200 numbered paragraphs

 and over 900 additional pages of affidavits and other documents, in which they

 raise the same litany of perceived fraud and irregularities. However, these claims

 have been addressed previously in various state-court actions and were succinctly

 explained by Christopher Thomas, Michigan’s long-serving former Director of

 Elections, whose affidavit from a prior case is attached here. (ECF No. 31-2,

 PageID.2231-2242.) In addition, the attached declaration of Director of Elections

 Jonathan Brater further explains how the Plaintiffs’ claims are erroneous and based

 a lack of understanding of Michigan law. (ECF No. 31-3, PageID.2243-2255.)

       As this Court has observed, a record 5.5 million Michiganders voted in the

 presidential election (“2020 General Election”), and many of those votes were cast

 by absentee ballot. (ECF No. 36-4, PageID.2622.) This was due in part to the

 coronavirus pandemic and a ballot measure the Michigan voters passed in 2018

 allowing for no-reason absentee voting. When the polls closed and the votes were

 counted, former Vice President Joseph R. Biden, Jr. had secured over 150,000

 more votes than President Donald J. Trump in Michigan. (Id.)

       The Michigan Board of State Canvassers was required to meet to canvass

 the results of the 2020 General Election by November 23, 2020. Mich. Comp.

 Laws § 168.842. The State Board voted to certify the results the same day by a 3-0



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 vote, determining the results “for the Electors of President and Vice President,”

 among other offices. (ECF No. 36-5, PageID.2624.) That same day, Governor

 Gretchen Whitmer signed the Certificates of Ascertainment for the slate of electors

 for Vice President Biden and Senator Kamala D. Harris. (ECF No. 36-6,

 PageID.2627-29.) Those certificates were transmitted to and received by the

 Archivist of the United States. (Id.)

       Federal law provides that if election results are contested in any state, and if

 the state, prior to election day, has enacted procedures to decide controversies or

 contests over electors and electoral votes, and if these procedures have been

 applied, and the decisions are made at least six days before the electors’ meetings,

 then the decisions are considered conclusive and will apply in counting the

 electoral votes. 3 U.S.C. § 5. This date (the “Safe Harbor” deadline) fell on

 December 8, 2020. Under the federal statutory timetable for presidential elections,

 the Electoral College must meet on “the first Monday after the second Wednesday

 in December,” 3 U.S.C. § 7, which was December 14 this year. The electors met

 on December 14, 2020 and cast their votes for President and Vice-President.

       Plaintiffs filed the current lawsuit against Defendants at 11:48 p.m. on

 November 25, 2020—the eve of the Thanksgiving holiday. (ECF No. 1,

 PageID.1.) Plaintiffs alleged widespread fraud in the distribution, collection, and

 counting of ballots in Michigan, as well as violations of state law as to certain



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 election challengers and the manipulation of ballots through corrupt election

 machines and software. (Id.) Plaintiffs are registered Michigan voters and

 nominees of the Republican Party to be Presidential Electors on behalf of the State

 of Michigan. (ECF No. 6, Page.ID 882.) They are suing Governor Whitmer and

 Secretary of State Jocelyn Benson in their official capacities, as well as the

 Michigan Board of State Canvassers.

       On November 29, 2020, Plaintiffs filed a First Amended Complaint (ECF

 No. 6, PageID.882), “Emergency Motion for Declaratory, Emergency, and

 Permanent Injunctive Relief and Memorandum in Support Thereof” (ECF No. 7,

 PageID.1832), and Emergency Motion to Seal. (ECF No. 8. PageID.1850.) In

 their First Amended Complaint, Plaintiffs allege three claims pursuant to 42 U.S.C.

 § 1983: (Count I) violation of the Elections and Electors Clauses; (Count II)

 violation of the Fourteenth Amendment Equal Protection Clause; and, (Count III)

 denial of the Fourteenth Amendment Due Process Clause. (ECF No. 6,

 PageID.882.) Plaintiffs also assert one count alleging violations of the Michigan

 Election Code. (Id.)

       By December 1, motions to intervene had been filed by the City of Detroit

 (ECF No. 15, PageID.2090), Robert Davis (ECF No. 12, PageID.1860), and the

 Democratic National Committee and Michigan Democratic Party (“DNC/MDP”).

 (ECF No. 14, PageID.1878.) On December 2, the Court granted the motions to



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 intervene. (ECF No. 28, Page ID.2142.) Response and reply briefs with respect to

 Plaintiffs’ emergency motions were thereafter filed. (ECF Nos. 29, 31, 32, 34, 35,

 36, 37, 39, 49, 50.) Amicus curiae Michigan State Conference NAACP

 subsequently moved and was granted leave to file a brief in support of Defendants’

 position. (ECF Nos. 48, PageID.3039; 55, PageID.3173.) Supplemental briefs

 also were filed by the parties. (ECF Nos. 57, PageID.3198, 58, PageID.3264.)

       On December 7, 2020, this Court entered an Order denying the Plaintiffs’

 motion for temporary restraining order, finding that the Plaintiffs failed to

 demonstrate a likelihood of success on the merits. Plaintiffs thereafter filed a

 notice of appeal to the Sixth Circuit but have not taken any steps to prosecute their

 appeal. See Sixth Circuit Case No. 20-2205. Plaintiffs have also filed a petition

 for certiorari in the U.S. Supreme Court and requested expedited treatment. See

 U.S. Supreme Court No. 20-815.1 But that Court has taken no action as of yet.

       For the reasons explained in detail below, this Court should likewise dismiss

 the Complaint in its entirety and with prejudice.




 1
   Docket sheet and filings available at
 https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/pub
 lic/20-815.html.

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                                    ARGUMENT

 I.    Plaintiffs’ claims are barred by the Eleventh Amendment.
       Plaintiffs’ Amended Complaint names three defendants: Governor Gretchen

 Whitmer in her official capacity, Secretary of State Jocelyn Benson in her official

 capacity, and the Board of State Canvassers. Counts I through III of the Amended

 Complaint raise claims under 42 U.S.C. §1983, while Count IV alleges violations

 of state law. Each count—even those framed as federal claims—are in reality

 state-law claims barred by the Eleventh Amendment because they depend on

 resolution of state-law issues.

       The United States Constitution, Amendment XI, provides:

       The judicial power of the United States shall not be construed to
       extend to any suit in law or equity, commenced or prosecuted against
       one of the United States by citizens of another state, or by citizens or
       subjects of any foreign state.

       The Eleventh Amendment to the United States Constitution prevents a state

 from being sued in federal court without its consent. Alabama v. Pugh, 438 U.S.

 781, 782 (1978). An unconsenting state is immune from lawsuits brought in

 federal court by its own citizens, as well as by citizens of another state. Alden v.

 Maine, 527 U.S. 706, 712-713 (1999); see also Ladd v. Marchbanks, 971 F.3d 574,

 578 (6th Cir. 2020) (citing Hans v. Louisiana, 134 U.S. 1, 18-19 (1890)). The

 Eleventh Amendment is a constitutional restriction on the federal judicial power

 “based in large part on ‘the problems of federalism inherent in making one


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 sovereign appear against its will in the courts of the other.’” Pennhurst State Sch.

 & Hosp. v. Halderman, 465 U.S. 89, 100 (1984).

       The U.S. Supreme Court has consistently ruled that the Eleventh

 Amendment is a bar to lawsuits against states, state agencies or state departments

 unless specifically overridden by an act of Congress, or unless the state has

 consented to be sued. Id.; Pugh, 438 U.S. at 782; Edelman v. Jordan, 415 U.S. 651

 (1974). A suit against a State, a state agency or its department, or a state official is

 in fact a suit against the State and is barred “regardless of the nature of the relief

 sought.” Pennhurst, 465 U.S. at 100-02 (citations omitted). “‘The general rule is

 that a suit is against the sovereign if the judgment sought would expend itself on

 the public treasury or domain, or interfere with the public administration, or if the

 effect of the judgment would be to restrain the Government from acting, or to

 compel it to act.’” Pennhurst, 465 U.S. at 101 n.11 (quoting Dugan v. Rank, 372

 U.S. 609, 620 (1963)) (internal quotation marks omitted). Further, state officials

 acting in their official capacity are also not “persons” under § 1983. Will v.

 Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989).

       Eleventh Amendment immunity is subject to three exceptions: (1)

 congressional abrogation; (2) waiver by the State; and (3) “a suit against a state

 official seeking prospective injunctive relief to end a continuing violation of

 federal law.” See Carten v. Kent State Univ., 282 F.3d 391, 398 (6th Cir. 2002)



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 (citations omitted). Congress did not abrogate the States’ sovereign immunity

 when it enacted 42 U.S.C. § 1983. Will, 491 U.S. 58, 66 (1989). Also, the State of

 Michigan has not waived its immunity. Johnson v. Unknown Dellatifa, 357 F.3d

 539, 545 (6th Cir. 2004) (citing Abick v. Michigan, 803 F.2d 874, 877 (6th Cir.

 1986)). The Eleventh Amendment therefore bars Plaintiffs’ claims against the

 Michigan Board of State Canvassers. See McLeod v. Kelly, 7 N.W.2d 240, 242

 (Mich. 1942) (“The board of State canvassers is a State agency ...”); see also

 Deleeuw v. State Bd. of Canvassers, 688 N.W.2d 847, 850 (Mich. Ct. App. 2004).

       And Plaintiffs’ claims against Governor Whitmer and Secretary Benson also

 do not fall within the exception rising from the Supreme Court’s decision in Ex

 parte Young, 209 U.S. 123 (1908). As the Supreme Court has advised:

       To interpret Young to permit a federal-court action to proceed in
       every case where prospective declaratory and injunctive relief is
       sought against an officer, named in his individual capacity, would be
       to adhere to an empty formalism and to undermine the principle ...
       that Eleventh Amendment immunity represents a real limitation on a
       federal court’s federal-question jurisdiction. The real interests served
       by the Eleventh Amendment are not to be sacrificed to elementary
       mechanics of captions and pleading. Application of the Young
       exception must reflect a proper understanding of its role in our federal
       system and respect for state courts instead of a reflexive reliance on an
       obvious fiction.
 Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 270 (1997). Further, “the

 theory of Young has not been provided an expansive interpretation.” Pennhurst

 State Sch. & Hosp., 465 U.S. at 102. “‘In determining whether the doctrine of Ex



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 parte Young avoids an Eleventh Amendment bar to suit, a court need only conduct

 a straightforward inquiry into whether [the] complaint alleges an ongoing violation

 of federal law and seeks relief properly characterized as prospective.’” Verizon

 Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (quoting Coeur d’Alene

 Tribe of Idaho, 521 U.S. 296 (O’Connor, J., concurring)).

       Ex parte Young does not apply, however, to state law claims against state

 officials, regardless of the relief sought. Pennhurst State Sch. & Hosp., 465 U.S. at

 106 (“A federal court’s grant of relief against state officials on the basis of state

 law, whether prospective or retroactive, does not vindicate the supreme authority

 of federal law. On the contrary, it is difficult to think of a greater intrusion on state

 sovereignty than when a federal court instructs state officials on how to conform

 their conduct to state law.”); see also In re Ohio Execution Protocol Litig., 709 F.

 App’x 779, 787 (6th Cir. 2017) (“If the plaintiff sues a state official under state law

 in federal court for actions taken within the scope of his authority, sovereign

 immunity bars the lawsuit regardless of whether the action seeks monetary or

 injunctive relief.”). Here, without question, Plaintiffs’ state law claims against the

 State Defendants are barred by Eleventh Amendment immunity.

       Further, it is far from clear whether Plaintiffs’ requested injunctive relief is

 prospective in nature, as opposed to retroactive. See Edelman v. Jordan, 415 U.S.

 651, 666-667 (1974). Plaintiffs do not seek to require state officials to conform



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 their conduct to the law in the future, but rather to retroactively undo the actions of

 state officials, and—indeed—to substitute new actions in their place, in effect

 having this Court make determinations in place of state officials. Such a request is

 not consistent with long-established principles of state sovereignty. As a result, the

 Ex Parte Young exception to the Eleventh Amendment does not apply to these

 claims.

       Moreover, even if Plaintiffs’ claims for injunctive and declaratory relief had

 been properly pleaded, they would still be barred by the Eleventh Amendment.

 “To interpret Young to permit a federal court-action to proceed in every case where

 prospective declaratory and injunctive relief is sought against an officer, named in

 his individual capacity, would be to adhere to an empty formalism and to

 undermine the principle…that Eleventh Amendment immunity represents a real

 limitation on a federal court's federal-question jurisdiction.” Idaho v. Coeur

 D’Alene Tribe, 521 U.S. 261, 270 (1997). Federal courts cannot order state

 officials to conform to state law. See Pennhurst, 465 U.S. at 106.

       Again, “‘[i]n order to fall with the Ex parte Young exception, a claim must

 seek prospective relief to end a continuing violation of federal law.’” Russell v.

 Lundergan-Grimes, 784 F.3d 1037, 1047 (6th Cir. 2015) (quoting Diaz v. Mich.

 Dep’t of Corr., 703 F.3d 956, 964 (6th Cir. 2013)). Unlike Russell, this is not a

 case where a plaintiff is seeking to enjoin the continuing enforcement of a statute



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 that is allegedly unconstitutional. See id. at 1044, 1047 (plaintiff claimed that

 Kentucky law creating a 300-foot no-political-speech buffer zone around polling

 location violated his free-speech rights).

       As this Court has previously noted, the Michigan Board of State Canvassers

 has already certified the results of the election, and the Governor has issued the

 Certificates of Ascertainment for electors. (ECF No. 62, PageID.3306.) As a

 result, there is no continuing violation to enjoin. See id., (citing Rios v. Blackwell,

 433 F. Supp. 2d 848 (N.D. Ohio Feb. 7, 2006); see also King Lincoln Bronzeville

 Neighborhood Ass’n v. Husted, No. 2:06-cv-00745, 2012 WL 395030, at *4-5

 (S.D. Ohio Feb. 7, 2012); cf. League of Women Voters of Ohio v. Brunner, 548

 F.3d 463, 475 (6th Cir. 2008)).

       Here, each count of Plaintiffs’ complaint—even Counts I, II, and III, which

 claim to raise violations of federal law—is predicated on the election being

 conducted contrary to Michigan law. In fact, Plaintiffs’ amended complaint

 explicitly requests a declaration that ballot fraud occurred in violation of state law.

 (ECF No. 6, Am. Complt., PageID.956.) The Eleventh Amendment bars this

 Court’s exercise of judicial power to issue Plaintiffs’ requested relief.

       Plaintiffs’ complaint is filled with references to Michigan law and how the

 allegedly unlawful actions of election workers in Detroit and elsewhere violated

 state law. Count IV is premised entirely upon officials’ alleged violations of state



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 statutes. (ECF No. 6, Am. Compl., ¶¶ 208-228.) And, as stated above, even

 Counts I, II and III, although framed as violations of federal constitutional rights,

 are still based upon violations of Michigan law. (Id., ¶179-180, PageID.938, ¶186-

 188, PageID.940-941, ¶206, PageID.948, and ¶211-227, PageID.949-953.)

       Count I is pleaded as a federal claim under the Elections and Electors

 Clauses of the U.S. Constitution, but it is based solely on perceived violations of

 state law. (Id., PageID.938, ¶180.) Although Plaintiffs have styled this claim as a

 federal cause of action, the substance of their allegations focuses entirely on state

 officials’ alleged failure to follow the requirements of the Michigan Election Code

 by allegedly failing to uphold the rights of election challengers and by failing to

 prevent fraudulent votes. Count II is pleaded as a claim under the Equal Protection

 Clause of the Fourteenth Amendment but is similarly premised upon the rights and

 access of election challengers and the alleged failure of the Defendants to comply

 with the Michigan Election Law. (Id., ¶186-190, PageID.940-943.) Count III

 seeks to raise claims of substantive due process under the Fourteenth Amendment,

 but it likewise rests upon the same alleged violations of state law. (Id., ¶206,

 PageID.948.) And, finally, Count IV expressly alleges only violations of state law.

 Accordingly, each of these claims requires this Court to adjudicate whether

 Defendants violated state law, either through “de-certifying” the election results,




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 conducting an audit or recount, or transmitting Plaintiffs’ desired results. (Id.,

 PageID.955-956.)

       This Court cannot make that determination. As the U.S. Supreme Court held

 in Pennhurst, federal courts are prohibited from granting “relief against state

 officials on the basis of state law, whether prospective or retroactive.” 465 U.S. at

 106; see also id. at 117 (“[A] federal suit against state officials on the basis of state

 law contravenes the Eleventh Amendment when . . . the relief sought and ordered

 has an impact directly on the state itself.”). See also In re Ohio Execution Protocol

 Litig., 709 F. App’x 779, 787 (6th Cir. 2017) (“If the plaintiff sues a state official

 under state law in federal court for actions taken within the scope of his authority,

 sovereign immunity bars the lawsuit regardless of whether the action seeks

 monetary or injunctive relief.”).

       Framing the claims as federal causes of action does not enable this court to

 reach these state law issues raised against state officials. See, e.g., Balsam v. Sec’y

 of State, 607 F. App’x 177, 183-84 (3d Cir. 2015) (holding that Eleventh

 Amendment bars state law claims even when “premised on violations of the

 federal Constitution”); Massey v. Coon, No. 87-3768, 1989 U.S. App. LEXIS

 23130, at *4 (9th Cir. Jan. 3, 1989) (affirming dismissal of suit where “[a]though

 on its face the complaint states a claim under the due process and equal protection

 clauses of the Constitution, these constitutional claims are entirely based on the



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 failure of defendants to conform to state law” and “when a plaintiff alleges that a

 state official has violated state law…the entire basis for the doctrine of

 Young…disappears.”); Six v. Newsom, 462 F. Supp. 3d 1060, 1073 (C.D. Cal.

 2020) (denying temporary restraining order in part because Fifth and Fourteenth

 Amendment claims were predicated on violations of state law); Acosta v.

 Democratic City Comm., 288 F. Supp. 3d 597, 626 (E.D. Pa. 2018) (“Even when

 voters attempt to ‘tie their state law claims into their federal claims,’ the Eleventh

 Amendment bars the state law claims.” (quoting Balsam, 607 F. App’x at 183));

 Thompson v. Alabama, No. 2:16-CV-783-WKW, 2017 U.S. Dist. LEXIS 118606,

 at *25-26 (M.D. Ala. July 28, 2017) (denying injunction where plaintiffs’ federal

 constitutional claims rested on premise that state officials failed to implement state

 law in a particular manner, and the requested injunction would have required the

 court to supervise and direct state officials in how they should carry out their

 duties).

       As state officials, the Governor, the Secretary, and the Board are

 indisputably shielded by the Eleventh Amendment. The actions sought to be

 enjoined are required by state law. Mich. Comp. Laws § 168.46 requires that the

 “governor shall certify” the results of the election after the State Board has

 determined the result.




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       All three of Plaintiffs’ claims, including those nominally styled as federal

 claims, are barred under Pennhurst because they depend on an adjudication of

 Michigan law and state officials’ application of it. But “[a] federal court may not

 enjoin a state official to follow state law.” Ohio ex rel. Skaggs v. Brunner, 549

 F.3d 468, 479 (6th Cir. 2008). Pennhurst made clear that there is no “greater

 intrusion on state sovereignty than when a federal court instructs state officials on

 how to conform their conduct to state law.” 465 U.S. at 106. Because Count IV is

 based entirely on violations of state law, and seeks to enjoin state officials, it is

 barred by the Eleventh Amendment. Counts I, II, and III—although purporting to

 raise claims based upon violations of federal law—depend entirely on whether

 state officials followed state law. They are, therefore, barred for the same reasons

 as Count IV—again, when an issue of state law is simply re-stated as a federal

 cause of action, it is barred under Pennhurst.

       As a result, all of Plaintiffs’ claims are barred by the Eleventh Amendment

 and must be dismissed as a matter of law.

 II.   Plaintiffs’ claims must be dismissed because they are moot.
       Under Article III of the Constitution, federal courts may adjudicate only

 actual, ongoing cases or controversies. Kentucky v. U.S. ex rel. Hagel, 759 F.3d

 588, 595 (6th Cir. 2014) (quoting Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477

 (1990)). Federal courts have a continuing duty to ensure that they adjudicate only



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 genuine disputes between adverse parties, where the relief requested would have a

 real impact on the legal interests of those parties. See Church of Scientology v.

 United States, 506 U.S. 9, 12 (1992); McPherson v. Mich. High School Athletic

 Ass'n, 119 F.3d 453, 458 (6th Cir. 1997) (en banc).

       If “the issues presented are no longer live or the parties lack a legally

 cognizable interest in the outcome,” then the case is moot and the court has no

 jurisdiction. Los Angeles County v. Davis, 440 U.S. 625, 631 (1979). A “live”

 controversy is one that “persists in ‘definite and concrete’ form even after

 intervening events have made some change in the parties’ circumstances.” Mosely

 v. Hairson, 920 F.2d 409, 414 (6th Cir. 1990) (citing DeFunis v. Odegaard, 416

 U.S. 312, 317 (1974)); Ford v. Wilder, 469 F.3d 500, 504 (6th Cir. 2006) (“The

 test for mootness is whether the relief sought would, if granted, make a difference

 to the legal interests of the parties.”) (internal quotation marks and citation

 omitted). In other words, a case is moot where the court lacks “the ability to give

 meaningful relief[.]” Sullivan v. Benningfield, 920 F.3d 401, 410 (6th Cir. 2019).

       In their amended complaint, Plaintiffs request various forms of relief.

 Among other things, they ask this Court to order the Defendants and non-party

 Wayne County to “de-certify the election results”; enjoin Governor Whitmer from

 transmitting the certified election results; order the Governor to transmit certified

 results that declare President Trump is the winner of the election, order the



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 impounding of voting machines and software for inspection by Plaintiffs; order a

 recount; and an order that no votes received or tabulated by non-certified machines

 be counted. (ECF No. 6, Am. Complt., PageID.955, ¶ 233.) The relief they

 request is either beyond the ability of this Court to grant or is simply no longer

 available. (See ECF 62, PageID.3308.)

       As stated above, all 83 counties in Michigan finished canvassing their results

 for all elections by Tuesday, November 17, and reported their results for state

 office races to the Secretary of State and the Board of State Canvassers by the next

 day, see Mich. Comp. Laws § 168.843. The Board of State Canvassers certified

 the results of the November 3 general election on November 23, and the Governor

 sent the slate of presidential electors the same day. The time for requesting a

 special election based on mechanical errors or malfunctions in voting machines has

 expired. See Mich. Comp. Laws §§ 168.831, 168.832. So too, has the time for

 requesting a recount for the office of President. See Mich. Comp. Laws § 168.879.

 And Michigan’s electors met and voted on December 14. Mich. Comp. Laws §

 168.47; 3 U.S.C. § 7.

       As the Eleventh Circuit Court of Appeals recently observed in a similar,

 post-election lawsuit brought to specifically overturn the results of the 2020

 presidential election:

       “We cannot turn back the clock and create a world in which” the 2020
       election results are not certified. Fleming v. Gutierrez, 785 F.3d 442,

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        445 (10th Cir. 2015). And it is not possible for us to delay
        certification nor meaningful to order a new recount when the results
        are already final and certified.
 Wood v. Raffensperger, __ F.3d __, 2020 WL 7094866 (11th Cir. Dec. 5, 2020).

        The named Defendants have already performed any duties they have under

 the law with respect to the conducting of and certification of the November 3

 general election, and there is no mechanism available for de-certifying Michigan’s

 election results or for retracting the slate of electors the Governor has already sent

 to the Archivist. Moreover, as explained below, the named Defendants did not

 engage in any of the unlawful conduct alleged by Plaintiffs. Even if Plaintiffs were

 somehow entitled to declaratory relief on their constitutional and statutory claims,

 which they are not, it would not make a difference in the legal interests of the

 parties because Plaintiffs’ claims are moot.

 III.   Plaintiffs’ claims are barred by laches.
        The defense of laches is rooted in the principle that “equity aids the vigilant,

 not those who slumber on their rights.” Lucking v. Schram, 117 F.2d 160 (6th Cir.

 1941). Courts apply laches in election cases. See, e.g., Detroit Unity Fund v.

 Whitmer, 819 F. App’x 421, 422 (6th Cir. 2020). An action may be barred by the

 equitable defense of laches if: (1) the plaintiff delayed unreasonably in asserting

 their rights and (2) the defendant is prejudiced by this delay. Brown-Graves Co. v.




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 Central States, Southeast and Southwest Areas Pension Fund, 206 F.3d 680, 684

 (6th Cir. 2000). Laches applies in this case for both of these reasons.

       Plaintiffs unreasonably delayed raising their claims before this Court.

 Plaintiffs filed this action on November 25, 2020 (ECF No. 6, Am. Cmplt.,

 PageID.1-830)—more than 21 days after the November 3, 2020 general election,

 and it was not served upon the Defendants until December 1, 2020. (ECF No. 21,

 Service, PageID.2109-2114.) Any concerns about the application of state law prior

 to the election could have been brought far in advance of election day. Also, the

 counting of votes in Michigan was completed by the 83 boards of county

 canvassers on November 17, and by the Board of State Canvassers on November

 23. Mich. Comp. Laws §§ 168.822(1), 168.841, 168.842(2), 168.845. There is no

 reason why Plaintiffs’ claims of irregularities on election day or during the canvass

 should not have been brought much sooner—if not promptly at the time of the

 purported events. Plaintiffs’ claims related to election machines and software that

 are based upon “expert and fact witness” reports discussing “glitches” and other

 alleged vulnerabilities that date as far back as 2010. (See e.g., ECF No. 6 at

 PageID.927-933, ¶¶ 157(C)-(E), (G), 158, 160, 167.) Plaintiffs could have filed

 such claims years before the 2020 General Election, but Plaintiffs took no action

 until after the election was over and votes were counted.




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       Plaintiffs’ delay is simply unreasonable. In fact, Plaintiffs make little or no

 attempt to explain why they waited so long to file this suit. According to Plaintiffs

 themselves, “[m]anipulation of votes was apparent shortly after the polls closed on

 November 3, 2020.” (ECF No. 7, PageID.1837 (emphasis added).) As this Court

 has previously observed, where there is no reasonable explanation, there can be no

 true justification. (ECF No. 62, PageID.3312) (citing Crookston v. Johnson, 841

 F.3d 396, 398 (6th Cir. 2016) (identifying the “first and most essential” reason to

 issue a stay of an election-related injunction is plaintiff offering “no reasonable

 explanation for waiting so long to file this action”)).

       The Defendants have most certainly been prejudiced by Plaintiffs’ delay.

 See Kay v. Austin, 621 F.2d 809, 813 (6th Cir. 1980) (“As time passes, the state’s

 interest in proceeding with the election increases in importance as resources are

 committed and irrevocable decisions are made, and the candidate’s claim to be a

 serious candidate who has received a serious injury becomes less credible by his

 having slept on his rights.”) This is especially true here, where Plaintiffs’ lawsuit

 was filed not just at last-minute—but well after the fact. While Plaintiffs delayed,

 the ballots were cast; the votes were counted; and the results were certified. As

 this Court noted, the rationale for interposing the doctrine of laches is now at its

 peak. (ECF No. 62, PageID.3313) (citing McDonald v. Cnty. of San Diego, 124 F.

 App’x 588 (9th Cir. 2005); Soules v. Kauaians for Nukolii Campaign Comm., 849



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 F.2d 1176, 1180 (9th Cir. 1988)). Plaintiffs have unreasonably delayed in raising

 their claims before this Court, and the consequences of their delay have prejudiced

 the State Defendants. Their claims are, therefore, barred by the doctrine of laches

 and should be dismissed.

 IV.   Plaintiffs’ claims fail as a matter of law because they lack standing.
       Under Article III of the United States Constitution, federal courts can

 resolve only “cases” and “controversies.” U.S. Const., Art. III, § 2. The case-or-

 controversy requirement is satisfied only where a plaintiff has standing to bring

 suit. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24,

 2016). Each plaintiff must demonstrate standing for each claim he or she seeks to

 press. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (citation

 omitted) (“[A] plaintiff must demonstrate standing separately for each form of

 relief sought.”). To establish standing, a plaintiff must show that he or she: (1) has

 suffered an injury in fact that is “concrete and particularized” and “actual or

 imminent”; (2) the injury is “fairly . . . trace[able] to the challenged action of the

 defendant”; and (3) it is “likely, as opposed to merely speculative, that the injury

 will be redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504

 U.S. 555, 560-62 (1992) (internal quotation marks and citations omitted).

       As an initial matter, this Court has already held that Plaintiffs have failed to

 state a claim for a due process. Plaintiffs have done nothing to expand or develop



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 that claim, and so the same deficiencies remain. The Plaintiffs lack standing to

 make their remaining claims for the reasons below.

        A.     Plaintiffs lack standing to raise an Equal Protection claim.
        Plaintiffs have alleged that the Defendants engaged in “several schemes” to,

 among other things, “destroy,” “discard,” and “switch” votes for President Trump,

 thereby “devalu[ing] Republican votes” and “diluting” the influence of their

 individual votes. (ECF No. 49, PageID.3079.) Plaintiffs contend that “the vote

 dilution resulting from this systemic and illegal conduct did not affect all Michigan

 voters equally; it had the intent and effect of inflating the number of votes for

 Democratic candidates and reducing the number of votes for President Trump and

 Republican candidates.” (ECF No. 49, Page.ID 3079.) Even assuming, for

 purposes of argument only, that Plaintiffs could establish injury-in-fact and

 causation under this theory, their constitutional claim cannot stand because

 Plaintiffs fail to establish redressability.

        Plaintiffs fail to establish that the alleged injury of vote-dilution could be

 redressed by a favorable decision from this Court. Plaintiffs ask this Court to de-

 certify the results of the 2020 General Election in Michigan. But an order

 invalidating approximately 2.8 million people would not reverse or remedy the

 dilution of Plaintiffs’ vote. To be sure, standing is not “dispensed in gross: A

 plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.” Gill,



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 138 S. Ct. at 1934 (citing Cuno, 547 U.S. at 353); Cuno, 547 U.S. at 353 (“The

 remedy must of course be limited to the inadequacy that produced the injury in fact

 that the plaintiff has established.” (quoting Lewis v. Casey, 518 U.S. 343, 357

 (1996)). Plaintiffs’ alleged injury does not entitle them to seek their requested

 remedy because the harm of having one’s vote invalidated or diluted is not

 remedied by denying millions of others their right to vote. Accordingly, Plaintiffs

 have failed to show that their injury can be redressed by the relief they seek and

 thus possess no standing to pursue their equal protection claim.

       B.     Elections Clause and Electors Clause Claims

       The provision of the United States Constitution known as the Elections

 Clause states in part: “The Times, Places and Manner of holding Elections for

 Senators and Representatives, shall be prescribed in each State by the Legislature

 thereof[.]” U.S. Const., Art. I, § 4, cl. 1. “The Elections Clause effectively gives

 state governments the ‘default’ authority to regulate the mechanics of federal

 elections, Foster v. Love, 522 U.S. 67, 69 [ ] (1997), with Congress retaining

 ‘exclusive control’ to ‘make or alter’ any state’s regulations, Colegrove v. Green,

 328 U.S. 549, 554 [ ] (1946).” Bognet v. Sec’y Commonwealth of Pa., No. 20-

 3214, 2020 WL 6686120, at *1 (3d Cir. Nov. 13, 2020). The “Electors Clause” of

 the Constitution states: “Each State shall appoint, in such Manner as the

 Legislature thereof may direct, a Number of Electors ....” U.S. Const., Art. II, § 1,



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 cl. 2. Although separate constitutional provisions, the Electors Clause and

 Elections Clause share “considerable similarity,” Ariz. State Leg. v. Ariz. Indep.

 Redistricting Comm’n, 576 U.S. 787, 839 (2015) (Roberts, C.J., dissenting).

       Plaintiffs argue that, as “nominees of the Republican Party to be Presidential

 Electors on behalf of the State of Michigan, they have standing to allege violations

 of the Elections Clause and Electors Clause because “a vote for President Trump

 and Vice-President Pence in Michigan ... is a vote for each Republican elector[],

 and ... illegal conduct aimed at harming candidates for President similarly injures

 Presidential Electors.” (ECF No. 7 at PageID.1837-38; ECF No. 49, PageID.3076-

 78.) But where, as here, the only injury Plaintiffs have alleged is that the Elections

 Clause has not been followed, the U.S. Supreme Court has made clear that “[the]

 injury is precisely the kind of undifferentiated, generalized grievance about the

 conduct of government that [courts] have refused to countenance.” Lance v.

 Coffman, 549 U.S. 437, 442 (2007). Because Plaintiffs “assert no particularized

 stake in the litigation,” Plaintiffs fail to establish injury- in-fact and thus standing

 to bring their Elections Clause and Electors Clause claims. Id.; see also Johnson v.

 Bredesen, 356 F. App’x 781, 784 (6th Cir. 2009) (citing Lance, 549 U.S. at 441-

 42) (affirming district court that citizens did not allege injury-in-fact to support

 standing for claim that the State of Tennessee violated constitutional law).




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       This is so because the Elections Clause grants rights to “the Legislature” of

 “each State.” U.S. Const., Art. I, § 4, cl. 1. The Supreme Court interprets the words

 “the Legislature,” as used in that clause, to mean the lawmaking bodies of a state.

 Ariz. State Legislature, 135 S. Ct. at 2673. The Elections Clause, therefore, grants

 rights to state legislatures and to other entities to which a State may delegate

 lawmaking authority. See id. at 2668. Plaintiffs’ Elections Clause claims thus

 belong, if to anyone, Michigan’s state legislature. Bognet, 2020 WL 6686120, *7.

 Plaintiffs here are six presidential elector nominees; they are not a part of

 Michigan’s lawmaking bodies nor do they have a relationship to them.

       To support their contention that they have standing, Plaintiffs have

 previously relied on Carson v. Simon, 78 F.3d 1051 (8th Cir. 2020), a decision

 finding that electors had standing to bring challenges under the Electors Clause.

 (ECF No. 7, PageID.1839) (citing Carson, 978 F.3d at 1057). In that case, which

 was based on the specific content and contours of Minnesota state law, the Eighth

 Circuit Court of Appeals concluded that because “the plain text of Minnesota law

 treats prospective electors as candidates,” it too would treat presidential elector

 nominees as candidates. Carson, 78 F.3d at 1057. This Court, however, should not

 follow the majority’s holding in Carson for the reasons stated in that case’s dissent:

       I am not convinced the Electors have Article III standing to assert
       claims under the Electors Clause. Although Minnesota law at times
       refers to them as “candidates,” see, e.g., Minn. Stat. § 204B.03 (2020),
       the Electors are not candidates for public office as that term is

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       commonly understood. Whether they ultimately assume the office of
       elector depends entirely on the outcome of the state popular vote for
       president. Id. § 208.04 subdiv. 1 (“[A] vote cast for the party
       candidates for president and vice president shall be deemed a vote for
       that party’s electors.”). They are not presented to and chosen by the
       voting public for their office, but instead automatically assume that
       office based on the public’s selection of entirely different individuals.

 78 F.3d at 1063 (Kelly, J., dissenting).

       Because Plaintiffs lack standing to assert any of their claims, this Court

 should dismiss their amended complaint.

 V.    This Court should abstain from exercising jurisdiction.
       This Court should abstain from exercising jurisdiction at this time. In Count

 I, Plaintiffs argue that Defendants violated the Electors Clause of the U.S.

 Constitution by failing to conduct the November 3 general election in accordance

 with the election laws enacted by the Michigan Legislature. (ECF No. 6, Am.

 Compl., PageID.937-939, ¶¶ 177-181.) In Count II, Plaintiffs argue that

 Defendants violated the Equal Protection Clause by causing the debasement or

 dilution of Plaintiffs’ votes by failing to comply with Michigan’s election laws.

 (Id., PageID.939-945, ¶¶ 183-197.) In Count III, Plaintiffs similarly allege that

 Defendants violated their substantive due process rights by diluting their votes

 through the counting of unlawful or illegal votes. (Id., PageID.945-948, ¶¶ 199-

 207.) Finally, in Count IV, Plaintiffs allege state-law statutory violations. (Id.,

 PageID.949-953, ¶¶ 209-228.) But the same or similar claims are already pending



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 before the Michigan state courts. Thus, this Court should dismiss Plaintiffs’ claims

 or at least abstain under Colorado River Water Conservation District v. United

 States, 424 U.S. 800 (1976).

       In Colorado River, the Supreme Court held that federal courts may abstain

 from hearing a case solely because similar pending state court litigation exists.

 424 U.S. 800, 817 (1976); accord Romine v. Compuserve Corp., 160 F.3d 337,

 339-41 (6th Cir. 1998). “[D]espite the virtually unflagging obligation of the

 federal courts to exercise the jurisdiction given them, . . . considerations of judicial

 economy and federal-state comity may justify abstention in situations involving the

 contemporaneous exercise of jurisdiction by state and federal courts.” Romine, 160

 F.3d at 339 (quotation removed). To abstain from exercising jurisdiction, a state

 court action must be “parallel.” Id. at 340; accord Baskin v. Bath Tp. Bd. of

 Zoning Appeals, 15 F.3d 569, 571-72 (6th Cir. 1994). If state proceedings are

 parallel, eight factors must weigh in favor of abstention. PaineWebber, Inc. v.

 Cohen, 276 F.3d 197, 206-07 (6th Cir. 2001); accord Great Earth Cos. v. Simons,

 288 F.3d 878, 886 (6th Cir. 2002). “Exact parallelism is not required; it is enough

 if the two proceedings are substantially similar.” Romine, 160 F.3d at 340

 (quotation removed); accord Bates v. Van Buren Tp., 122 F. App'x 803, 806 (6th

 Cir. 2004). “Where ... the parties are substantially similar and ... [the claims] are

 predicated on the same allegations as to the same material facts ... the actions must



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 be considered ‘parallel.’ ” Romine, 160 F.3d at 340; accord Healthcare Co. v.

 Upward Mobility, Inc., 784 F. App'x 390, 394 (6th Cir. 2019).

       As noted, similar claims are pending in the Michigan state courts.

                    a.     Bailey v. Antrim County, Antrim Circuit Court No. 20-
                           9238.
       On or about November 23, an individual voter filed a complaint for

 declaratory and injunctive relief against Antrim County, alleging constitutional and

 statutory violations based on purported fraud in the conducting of the November 3

 general election in Antrim County based on its use of the Dominion Voting

 Systems election management system and voting machines. (ECF No. 31-8,

 PageID.2322-2337.) The parties have retained experts and already have a

 scheduling order in that case and are engaging in discovery with trial set for Spring

 2021. This case thus presents similar claims regarding the Dominion Voting

 Systems as the present case and remains pending before the Antrim Circuit Court.

                    b.     Donald J. Trump for President, Inc., et al. v. Secretary
                           of State, Michigan Court of Claims Case No. 20-0225.
        On November 4, the Trump Committee and an individual voter and

 Republican poll challenger filed a complaint in the Michigan Court of Claims

 generally alleging that insufficient numbers of Republican election inspectors or

 challengers were present at unidentified absent voter counting boards in the State,

 and that challengers were being denied access to surveillance videotapes of AV



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 ballot drop boxes at the unidentified absent voter counting boards. The plaintiffs

 sought to halt the canvass. (ECF No. 31-9, PageID.2338-2347.) The Michigan

 Court of Claims denied the plaintiffs’ motion for emergency and/or injunctive

 relief (ECF No. 31-10, PageID.2348-2354) and plaintiffs appealed to the Michigan

 Court of Appeals. The Court of Appeals denied leave to appeal on December 4,

 2020. 2 The plaintiffs filed an application for leave to appeal with the Michigan

 Supreme Court, but leave was denied on December 11, 2020.3 A motion to

 dismiss is currently before the Court of Claims. This case thus present similar

 claims as to the issues of challengers and inspectors.

                    c.     Stoddard, et al. v. Detroit Election Commission, et al.,
                           Wayne Circuit Court No. 20-014604.
        Also on or about November 4, the Election Integrity Fund and an

 Republican challenger at TCF, filed a complaint in Wayne Circuit Court against

 Detroit and Wayne County election officials alleging that a sufficient number of

 Republican election inspectors were not present at Detroit’s absent voter counting

 board at TCF, and that ballots were being duplicated without the presence of

 Republican election inspectors. (ECF No. 31-12, PageID.2400-2408.) The


 2
   See December 4, 2020, Michigan Court of Appeals order denying leave, Docket
 Nos. 355378, 355397, available at
 http://publicdocs.courts.mi.gov/coa/public/orders/2020/355378_17_01.pdf.
 3
   See December 11, 2020, Michigan Supreme Court order denying leave, Docket
 No. 162320, available at
 http://publicdocs.courts.mi.gov/sct/public/orders/162320_28_01.pdf.

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 plaintiffs sought injunctive relief to stop the duplication of ballots without a

 Republican inspector being present. The circuit court denied the request for

 injunctive relief, concluding that plaintiffs’ claims that thousands of ballots had

 been changed or falsified were speculative. (ECF No. 31-13, PageID.2409-2413.)

 The plaintiffs did not appeal, and their case remains pending in the circuit court.

                     d.     Costantino, et al. v. City of Detroit, et al., Wayne
                            Circuit Court No. 20-014780.
       On or about November 8, another lawsuit was filed in Wayne Circuit Court

 against City of Detroit and Wayne County election officials. Plaintiffs Cheryl

 Costantino and Edward McCall, voters and Republican challengers, alleged a

 litany of errors in the processing of AV ballots at TCF, including that:

    a. Defendants systematically processed and counted ballots from voters
       whose name failed to appear in either the Qualified Voter File
       (QVF) or in the supplemental sheets. When a voter’s name could not
       be found, the election worker assigned the ballot to a random name
       already in the QVF to a person who had not voted.
    b. Defendants instructed election workers to not verify signatures on
       absentee ballots, to backdate absentee ballots, and to process such
       ballots regardless of their validity.

    c. After election officials announced the last absentee ballots had
       been received, another batch of unsecured and unsealed ballots,
       without envelopes, arrived in trays at the TCF Center. There were
       tens of thousands of these absentee ballots, and apparently every
       ballot was counted and attributed only to Democratic candidates.
    d. Defendants instructed election workers to process ballots that
       appeared after the election deadline and to falsely report that those
       ballots had been received prior to November 3, 2020 deadline.



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    e. Defendants systematically used false information to process ballots,
       such as using incorrect or false birthdays. Many times, the election
       workers inserted new names into the QVF after the election and
       recorded these new voters as having a birthdate of 1/1/1900.
    f. On a daily basis leading up to the election, City of Detroit election
       workers and employees coached voters to vote for Joe Biden and the
       Democrat party. These workers and employees encouraged voters to
       do a straight Democrat ballot. These election workers and employees
       went over to the voting booths with voters in order to watch them vote
       and coach them for whom to vote.

    g. Unsecured ballots arrived at the TCF Center loading garage, not in
       sealed ballot boxes, without any chain of custody, and without
       envelopes.
    h. Defendant election officials and workers refused to record
       challenges to their processes and removed challengers from the site if
       they politely voiced a challenge.

    i. After poll challengers started discovering the fraud taking place at the
       TCF Center, Defendant election officials and workers locked
       credentialed challengers out of the counting room so they could not
       observe the process, during which time tens of thousands of ballots
       were processed.
    j. Defendant election officials and workers allowed ballots to be
       duplicated by hand without allowing poll challengers to check if the
       duplication was accurate. In fact, election officials and workers
       repeatedly obstructed poll challengers from observing. Defendants
       permitted thousands of ballots to be filled out by hand and duplicated
       on site without oversight from poll challengers.
 (ECF 31-14, PageID.2414-2436, pp 3-4.) The plaintiffs requested injunctive relief,

 asking the state court to order the defendants to conduct an independent audit to

 determine the accuracy of the November 3 election; to prohibit the defendants

 from certifying the election results; and to issue an order voiding the election



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 results. Id., p 20. The circuit court denied the motion for injunctive relief on

 November 13. (ECF No. 31-15, PageID.2437-2450.) The court concluded that the

 claims of fraud and improprieties lacked credibility and were often based on

 misunderstandings of the law and the actual processes that occurred at TCF, as

 demonstrated by the affidavit of Christopher Thomas, Michigan’s former,

 longstanding Director of Elections. Id. The plaintiffs appealed the denial of their

 request for injunctive relief to the Michigan Court of Appeals, which denied

 relief, 4

 and the plaintiffs then appealed to the Michigan Supreme Court. On November 23,

 the Michigan Supreme Court denied leave to appeal. (ECF No. 31-16,

 PageID.2451-2458.) This case remains open and pending before the Wayne

 Circuit Court.

         These five actions are sufficiently parallel to Plaintiffs’ instant claims to

 warrant abstention under Colorado River.

         With the actions being parallel, the court must weigh eight factors to

 determine if abstention is appropriate:

         (1) whether the state court has assumed jurisdiction over any res or
         property;



 4
  See Michigan Court of Appeals Docket No. 3553443, available at
 https://courts.michigan.gov/opinions_orders/case_search/pages/default.aspx?Searc
 hType=1&CaseNumber=162245&CourtType_CaseNumber=1.


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       (2) whether the federal forum is less convenient to the parties;

       (3) avoidance of piecemeal litigation;
       (4) the order in which jurisdiction was obtained;

       (5) whether the source of governing law is state or federal;
       (6) the adequacy of the state court action to protect the federal
       plaintiff's rights;

       (7) the relative progress of the state and federal proceedings; and

       (8) the presence or absence of concurrent jurisdiction.
 Cohen, 276 F.3d at 206 (quotation removed). Here, the third, fourth, fifth, sixth,

 and seventh factors weigh in support of abstention.

       The third factor, the avoidance of piecemeal litigation, “was paramount in

 Colorado River itself.” Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp.,

 460 U.S. 1, 19 (1983). “Piecemeal litigation occurs when different courts

 adjudicate the identical issue, thereby duplicating judicial effort and potentially

 rendering conflicting results.” Romine, 160 F.3d at 341. This factor weighs in

 favor of abstention. By allowing Plaintiffs to litigate their constitutional and

 statutory claims, and especially if the court were to decide Plaintiffs’ motion for a

 preliminary injunction, the court would potentially duplicate the efforts of the state

 courts and risk conflicting orders. The Michigan state courts currently have before

 them nearly identical factual and legal claims. Allowing Plaintiffs to continue here

 while there are appeals and cases pending in state court, would undermine just

 adjudication and fairness to the Defendants. “The legitimacy of the court system

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 in the eyes of the public and fairness to the individual litigants . . . are endangered

 by duplicative suits that are the product of gamesmanship or that result in

 conflicting adjudications.” Romine, 160 F.3d at 341.

       The order in which jurisdiction was obtained, the fourth factor of Colorado

 River analysis, also supports abstention. The state cases discussed above were all

 filed before this case, and several of the cases, Trump, Stoddard, and Costantino,

 are far more advanced than this case.

       The Michigan courts are also capable of protecting Plaintiffs’ rights, the

 sixth Colorado River factor. The state courts can address and resolve federal

 constitutional questions, especially where equal protection and dur process

 principles overlap, and the state courts are certainly the better venue for

 interpreting and resolving state statutory claims. This factor weighs in favor

 abstention.

       Last, the progress of the proceedings, factor number seven, also weighs in

 favor of abstention. No discovery has taken place in this case; the court has not

 reviewed the merits of the claims or Plaintiffs’ motion for a temporary restraining

 order. But most of the state court litigation has advanced further than this action,

 and is or has already been to the Michigan appellate courts.

       While abstention “is an extraordinary and narrow exception to the duty of a

 District Court to adjudicate a controversy properly before it.” Colorado River, 424



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 U.S. at 813. Abstention is warranted because the driving principle of Colorado

 River abstention is “[w]ise judicial administration, giving regard to conservation of

 judicial resources and comprehensive disposition of litigation.” Colorado River,

 424 U.S. at 817 (quoting Kerotest Mfg. Co. v. C-O-Two Fire Equipment Co., 342

 U.S. 180, 183 (1952)). Where sufficient relief may be provided in the state

 proceedings that were filed first and are farther along than this federal proceeding,

 declining to abstain would contravene the spirit of the Colorado River doctrine.

 Thus, this Court should abstain from adjudicating Plaintiffs’ Electors Clause, equal

 protection, substantive due process, and state statutory claims, and exercise its

 discretion to dismiss it, rather than simply stay the claim. E.g., White v. Morris,

 972 F.2d 350 (Table), at *2 (6th Cir. Aug. 6, 1992); Preston v. Eriksen, 106 F.3d

 401 (Table), at *4 (Jan. 14, 1997).

        This Court should also abstain under the principles articulated by the Sixth

 Circuit in Gottfried v. Med. Planning Servs., 142 F.3d 326 (6th Cir. 1998). In

 Gottfried, the Sixth Circuit recognized that under certain circumstances, a federal

 district court should refrain from exercising its jurisdiction based on considerations

 of “equity, comity, and our federalist judicial system” even though the case might

 not “precisely fit any of the jurisdictional doctrines normally applicable.” Id. at

 330.




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       The plaintiff in Gottfried wanted to picket outside the home, office, and

 abortion clinic of a doctor. But the doctor had obtained a state-court injunction

 years earlier restricting picketing at those locations that remained in effect. Id. at

 328. Concerned she would be arrested if the injunction were to be enforced against

 her, the plaintiff filed suit asking that the federal court declare the injunction

 unconstitutional and enjoin the city from enforcing it against her. Id. The Sixth

 Circuit determined that none of the recognized abstention doctrines applied, as the

 plaintiff had not been a party to the injunction and there was no ongoing state

 action. Id. at 329-30. Nevertheless, the Court held that “equity, comity, and our

 federalist judicial system require the federal court to give the state judge the first

 chance to bring the injunction into compliance with constitutional law.” Id. at 330.

       In so holding, the Sixth Court relied on the rationale underlying the Pullman

 abstention doctrine, which “requires a federal court, faced with a constitutional

 challenge to an uncertain state law, to defer the constitutional question and avoid a

 direct confrontation if a decision from the state court ‘might avoid in whole or in

 part the necessity for federal constitutional adjudication.’ ” Id. at 331 (quoting

 Harrison v. NAACP, 360 U.S. 167, 177 (1959)). Based on this principle of

 constitutional avoidance, the Gottfried Court held that “a federal court should

 abstain when a nonparty to a state court injunction brings a First Amendment

 challenge to the injunction in federal court before requesting relief from the state



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 court.” Id. at 332. The Court further reasoned that this approach would be more

 efficient, as it would permit the state court to take into consideration changes in the

 law that had occurred and to reassess the continuing need for the injunction and its

 scope. Id. Doing so also afforded the state court the respect due as an equal in the

 federalist judicial system. Id. at 332-333.

       For all the same reasons articulated above in support of Colorado River

 abstention, abstention is warranted under Gottfried. As the Court observed there:

       Treating an injunction like a statute, those who want to exercise their
       speech rights but do not wish to violate the injunction often file suit in
       federal court against a host of state and local officials for every
       imaginable constitutional violation, rather than simply asking the state
       judge who has ongoing jurisdiction over the matter for relief. This has
       become the pattern in today's litigious era, and it causes a host of
       problems that only multiply where, as here, the law has changed in the
       interim and a new state judge has inherited a permanent injunction
       drafted by a predecessor.

       Under these circumstances, we believe equity, comity, and our
       federalist judicial system require the federal court to give the state
       judge the first chance to bring the injunction into compliance with
       constitutional law. [Id. at 330.]
       Here, Plaintiffs could have filed their constitutional and statutory claims in

 state court. And regardless, there are pending state cases that may resolve

 Plaintiffs’ concerns without the need for this Court’s intervention and the threat of

 possibly conflicting decisions. Waiting for the state court decisions preserves

 principles of comity as well. This Court should thus abstain from resolving

 Plaintiffs’ constitutional and statutory claims.


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 VI.   Plaintiffs’ federal constitutional claims are without merit and must be
       dismissed.
       Plaintiffs bring four counts, three of which raise federal causes of action.

 For the reasons stated below, none of these claims has any legal merit.

       A.     Plaintiffs fail to state a claim for violation of the Electors and
              Elections Clauses of the U.S. Constitution.
       As argued earlier, Plaintiffs lack standing to bring this claim, but even

 assuming Plaintiffs had standing, the claim based upon the Electors and Elections

 Clauses would still fail. Count I of Plaintiffs’ complaint contends that, because the

 Michigan Legislature has established laws for the administration of elections,

 including presidential elections, the Defendants violated the Electors Clause and

 the Elections Clause by “failing to follow the requirements of the Michigan

 Election Law.” (ECF No. 6, Am. Complt., ¶179-180, PageID.938.) It is worth

 noting that Plaintiffs’ theory here would effectively constitutionalize any and every

 claimed violation of state election law—no matter how minor, fleeting, or

 inconsequential—any time there was a presidential election. If adopted by this

 Court, Plaintiffs’ argument would dramatically expand federal court oversight of

 state elections, and any deviation from state law by local officials anywhere in the

 state would be a matter of federal review. Plaintiffs offer no support for such an

 expansive reading the Electors and Elections Clauses, and no other court appears to

 have adopted this approach. Indeed, as discussed in greater detail in the section



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 below addressing Plaintiffs’ equal protection claim, such federal court

 management of state elections has been rejected by other courts.

       In Bush v. Palm Beach County Canvassing Bd., 531 U.S. 70, 76 (2000) the

 Supreme Court held that state legislatures enacting laws governing the selection of

 presidential electors are acting under a grant of authority under Article II, § 1, cl. 2

 of the U.S. Constitution. The Supreme Court has also held that the power to define

 the method of selecting presidential electors is exclusive to the state legislature,

 McPherson v. Blacker, 146 U.S. 1, 27 (1892), and cannot be “taken or modified”

 even by the state constitutions. Bush v. Gore, 531 U.S. 98, 112-13 (2000) (C.J.

 Rehnquist, concurring). From this modest premise, Plaintiffs contend that any

 violation of the Michigan Election Law is tantamount to a modification of the

 Legislature’s enactments. But neither Bush nor McPherson hold as much.

       But the principal problem with Plaintiffs’ argument, of course, is that the

 Defendants have done nothing to violate the Michigan Election Law. The Eastern

 District of Michigan has held that public officials are presumed to have “properly

 discharged their official duties” and that the burden falls on the party asserting an

 ultra vires act to show otherwise. Barden Detroit Casino L.L.C. v. City of Detroit,

 59 F. Supp. 2d 641, 661 (E.D. Mich. 1999)(citing Bracy v. Gramley, 520 U.S. 899,

 909 (1997)). Here, Plaintiffs have failed to offer evidence rebutting that

 presumption. The Secretary of State, in fact, expressly issued instructions and



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 guidance providing for how poll challengers may perform their functions while

 maintaining social distance to protect the health of election workers. Plaintiffs fail

 to demonstrate how the Governor or Board of State Canvassers violated any

 provision of the Michigan Election Law. The Plaintiffs have simply not alleged

 how the Defendants failed to follow the Legislature’s enactments. Absent from

 Plaintiffs’ complaint is any reference to any act or decision by any of the

 Defendants that supposedly “violates” state law—let alone the Electors and

 Elections Clauses as a consequence thereof.

       In Bush v. Gore, Justice Rhenquist observed that federal courts’ review of

 state court decisions affecting presidential electors under Article II was still

 deferential:

       In order to determine whether a state court has infringed upon the
       legislature's authority, we necessarily must examine the law of the
       State as it existed prior to the action of the court. Though we generally
       defer to state courts on the interpretation of state law --
       see, e.g., Mullaney v. Wilbur, 421 U.S. 684 [ ] (1975) -- there are of
       course areas in which the Constitution requires this Court to undertake
       an independent, if still deferential, analysis of state law.
 Bush, 531 U.S. at 114. Here, neither the Governor, the Secretary, nor the Board

 have “infringed” upon the authority of “the Legislature.”

       Further, the Defendants have not done anything to violate the Elections

 Clause. The Elections Clause provides:

       The Times, Places and Manner of holding Elections for Senators and
       Representatives, shall be prescribed in each State by the Legislature


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       thereof; but Congress may at any time make or alter such Regulations,
       except as to the Place of chusing Senators.
       Frankly, it is not entirely clear how this clause applies to the present case.

 The election was held on November 3, 2020 in conformity with state law. As to

 the timing for counting ballots and certifying the results, the canvass of the votes at

 the precinct level must, by statute, commence immediately after the polls close.

 Mich. Comp. Laws § 168.801. The boards of county canvassers must meet on the

 Thursday immediately following any election to commence the canvass of the

 counties’ returns of votes, and the county canvass must be completed by the 14th

 day after an election, which was November 17 for this election cycle. Mich.

 Comp. Laws §§ 168.821, 168.822. The canvass began as required, and the county

 canvasses were completed.

       Under Mich. Comp. Laws § 168.842(1), the Board of State Canvassers must

 meet on or before the twentieth day after the election to certify the results but must

 complete the canvas no later than the fortieth day. The twentieth day for this

 election cycle was November 23, and the fortieth day was December 13. The

 Board of Canvassers did, in fact, certify the results on November 23, 2020 at a

 meeting that was both widely-reported and streamed live over the internet. No

 presidential candidate subsequently requested a recount within the time provided

 under state law. Mich. Comp. Laws § 168.879(1)(c).




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       Under Mich. Comp. Laws § 168.46, “[a]s soon as practicable after the state

 board of canvassers has” certified the results the Governor must certify the list of

 presidential electors to the U.S. Secretary of the Senate. See also 3 U.S.C. § 6.

 This, also, has already been done.

       Lastly, § 47 provides that the presidential electors “shall convene” in the

 State’s capitol “on the first Monday after the second Wednesday in December

 following their election,” which was December 14 for this election cycle. Mich.

 Comp. Laws § 168.47; 3 U.S.C. § 7. This, too, has been done; the electors have

 cast their ballots. Plaintiffs’ requested relief—an order requiring the Governor to

 transmit results naming electors for a candidate other than the one certified to have

 won the election—would itself violate the Electors Clause because such electors

 would not have been appointed in the manner provided by state law.

       In reviewing claims under these clauses, the Supreme Court has generally

 weighed state election laws against federal requirements—but has not examined

 alleged violations of enacted state laws against those federal requirements. See e.g.

 Cook v. Gralike, 531 U.S. 510, 525-26 (2001); Arizona State Legislature, 576 U.S.

 at 824. Plaintiffs can provide no cases or authority supporting the claims they raise

 here, and Defendants can find none. This claim fails as a matter of law and must

 be dismissed.




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       B.     Plaintiffs fail to state a claim for a violation of Equal Protection.
       Plaintiffs attempt to establish an Equal Protection claim based on the theory

 that Defendants engaged in “several schemes” to, among other things, “destroy,”

 “discard,” and “switch” votes for President Trump, thereby “devalu[ing]

 Republican votes” and “diluting” the influence of their individual votes. (ECF No.

 49, PageID.3079.)

       “Equal protection of the laws” means that “[h]aving once granted the right to

 vote on equal terms, the State may not, by later arbitrary and disparate treatment,

 value one person’s vote over that of another.” Bush, 531 U.S. at 104-05. Voting

 rights can be impermissibly burdened “by a debasement or dilution of the weight

 of a citizen’s vote just as effectively as by wholly prohibiting the free exercise of

 the franchise.” Id. (quoting Reynolds v. Sims, 377 U.S. 533, 555 (1964)). “Our

 Constitution leaves no room for classification of people in a way that unnecessarily

 abridges this right [to vote].” Reynolds, 377 U.S. at 559 (quoting Wesberry v.

 Sanders, 376 U.S. 1, 17-18 (1964)). “[A]ll who participate in the election are to

 have an equal vote—whatever their race, whatever their sex, whatever their

 occupation, whatever their income, and wherever their home may be.” Reynolds,

 377 U.S. at 557–58 (quoting Gray v. Sanders, 372 U.S. 368, 379 (1963)). Thus, “a

 law that would expressly give certain citizens a half-vote and others a full vote”




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 would be violative of the Equal Protection Clause. Wesberry, 376 U.S. at 19

 (quoting Colegrove v. Green, 328 U.S. 549, 569 (1946)).

       In some cases, vote dilution can be a cognizable injury that confers standing.

 e.g., United States v. Hays, 515 U.S. 737, 744-45 (1995). But it does not

 necessarily follow that all forms of vote dilution give rise to standing. Plaintiffs

 have not explained, for instance, why the principles underlying standing in racial

 gerrymandering cases (where a state legislature or redistricting committee takes

 affirmative action that dilutes or restricts the votes of a specific minority

 population) should apply here, in a case based only upon unsubstantiated

 allegations of breaches of state election law by unidentified individuals at

 unspecified times.

       In Gill v. Whitford, the Supreme Court recognized that plaintiffs in past

 vote‐dilution cases had standing when their claimed injuries were “individual and

 personal in nature,” and the plaintiffs had alleged “facts showing disadvantage to

 themselves as individuals.” 138 S. Ct. 1916, 1929-30 (2018) (quoting Reynolds v.

 Sims, 377 U.S. 533, 561 (1964), and Baker v. Carr, 369 U.S. 186, 206 (1962)).

 This case is different. Plaintiffs broadly allege that their votes will be diluted, but

 they fail to explain why their votes would be “diluted” at all. Simply put—diluted

 by whom? The alleged “dilution” would affect all Michigan voters equally, giving




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 no particular advantage to one class or group, or any identifiable disadvantage to

 the Plaintiffs.

        Here, no group has been given preference or advantage—indeed, it is

 impossible at this time to determine with any level of accuracy whether any

 supposed “invalid” votes were for or against any candidate for whom Plaintiffs

 voted. Plaintiffs fail to identify by name a single voter who voted when they

 should not have—let alone anything resembling widespread election fraud.

 Similarly, Plaintiffs have not identified any election workers who supposedly

 engaged in misconduct or malfeasance. Upon information and belief, none of the

 affiants have submitted any complaints of election fraud to a law enforcement

 agency.

        Moreover, there has simply been no valuation of any person’s—or group of

 persons’—votes as being more valuable than others. There has been no disparate

 treatment, and so nothing to violate “one-person, one-vote jurisprudence.” Bush,

 531 U.S. at 107 (citing Gray, 372 U.S. 368.) See, e.g., George v. Hargett, 879

 F.3d 711 (6th Cir. 2018) (method for counting votes on state proposal did not

 violate equal protection); State ex rel Skaggs v. Brunner, 588 F. Supp. 2d 828 (S.D.

 Ohio 2008) (counting provisional ballots of otherwise eligible voters did not dilute

 vote). Plaintiffs’ equal protection claim is not supported by any allegation that

 Defendants’ alleged schemes caused votes for President Trump to be changed to



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 votes for Vice President Biden. The closest Plaintiffs get to alleging that physical

 ballots were altered in such a way is the following statement in an election

 challenger’s sworn affidavit: “I believe some of these workers were changing votes

 that had been cast for Donald Trump and other Republican candidates.” (ECF No.

 6, PageID.902, ¶ 91 (citing Aff. Articia Bomer, ECF No. 6-3, PaegeID.1008-

 1010).) But, as this Court has observed, “[a] belief is not evidence” and falls far

 short of what is required to obtain any relief, much less the extraordinary relief

 Plaintiffs request. (ECF No. 62, PageID.3327)(citing United States v. O’Connor,

 No. 96-2992, 1997 WL 413594, at *1 (7th Cir. 1997); see Brown v. City of

 Franklin, 430 F. App’x 382, 387 (6th Cir. 2011)). Similarly, the closest Plaintiffs

 get to alleging that election machines and software changed votes for President

 Trump to Vice President Biden in Wayne County is an amalgamation of theories,

 conjecture, and speculation that such alterations were possible. (See e.g., ECF No.

 6 at ¶¶ 7-11, 17, 125, 129, 138-43, 147-48, 155-58, 160-63, 167, 171.) And

 Plaintiffs do not at all explain how the question of whether the treatment of

 election challengers complied with state law bears on the validity of votes, or

 otherwise establishes an equal protection claim.

       With nothing but speculation and conjecture that votes for President Trump

 were destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

 equal protection claim fails. See Wood, 2020 WL 7094866 (quoting Bognet, 2020



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 WL 6686120, at *12) (“‘[N]o single voter is specifically disadvantaged’ if a vote is

 counted improperly, even if the error might have a ‘mathematical impact on the

 final tally and thus on the proportional effect of every vote.’”).

       While Plaintiffs argue that some poll challengers were treated

 inappropriately, that has no bearing on the validity or integrity of any votes. As

 argued elsewhere, the penalty for interfering with a poll challenger is to punish the

 person who violated the law—not to punish voters by invalidating their votes for

 reasons over which they had no control.

       Also, the Third Circuit in Bognet rejected this precise claim:

       Contrary to the Voter Plaintiffs' conceptualization, vote dilution under
       the Equal Protection Clause is concerned with votes being weighed
       differently. See Rucho v. Common Cause, 139 S. Ct. 2484, 2501 [ ]
       (2019) (“’[V]ote dilution’ in the one-person, one-vote cases refers to
       the idea that each vote must carry equal weight.” (emphasis added));
       cf. Baten v. McMaster, 967 F.3d 345, 355 (4th Cir. 2020), as amended
       (July 27, 2020) (“[N]o vote in the South Carolina system is diluted.
       Every qualified person gets one vote and each vote is counted equally
       in determining the final tally.”). As explained below, the Voter
       Plaintiffs cannot analogize their Equal Protection claim to
       gerrymandering cases in which votes were weighted differently.
       Instead, Plaintiffs advance an Equal Protection Clause argument based
       solely on state officials’ alleged violation of state law that does not
       cause unequal treatment. And if dilution of lawfully cast ballots by the
       “unlawful” counting of invalidly cast ballots “were a true equal-
       protection problem, then it would transform every violation of state
       election law (and, actually, every violation of every law) into a
       potential federal equal-protection claim requiring scrutiny of the
       government's ‘interest’ in failing to do more to stop the illegal
       activity.” Trump for Pres. v. Boockvar, 2020 U.S. Dist. LEXIS
       188390, 2020 WL 5997680, at *45-46. That is not how the Equal
       Protection Clause works.

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 Bognet, supra, at *31-32 (emphasis added). Similarly, the Eighth Circuit has held

 that, “[t]he Constitution is not an election fraud statute.” Minn. Voters All. v.

 Ritchie, 720 F.3d 1029, 1031 (8th Cir. 2013) (quoting Bodine v. Elkhart Cnty.

 Election Bd., 788 F.2d 1270, 1271 (7th Cir. 1986)). And the Fifth Circuit has also

 recognized that the Constitution, “d[oes] not authorize federal courts to be state

 election monitors.” Gamza v. Aguirre, 619 F.2d 449, 454 (5th Cir. 1980).

       This Court should also adopt the reasoning of these courts and conclude that

 Plaintiffs have failed to state a claim for a violation of Equal Protection.

       C.     Plaintiffs have failed to state a claim for a violation of the Due
              Process Clause.
       As stated earlier, Plaintiffs’ offer minimal allegations to support their Due

 Process claim, but to the extent such a claim is raised it necessarily fails as a matter

 of law. In Count III, Plaintiffs claim that violations of state election law constitute

 “widespread and systemic” violations of the Due Process Clause. In particular,

 Plaintiffs cite to their allegations that Republican poll challengers were denied a

 “meaningful” opportunity to observe the processing and counting of ballots, that

 election workers altered ballots, and other violations of state law that allowed for

 the counting of “ineligible, illegal, or duplicate ballots.” (ECF No. 6, Am.

 Complt., ¶206, PageID.948).

       But the Supreme Court has never recognized the right to vote as a right

 qualifying for substantive due process protection. Davis v. Detroit Pub. Sch. Cmty.


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 Dist., 2017 U.S. Dist. LEXIS 114749, *37 (E.D. Mich., July 24, 2017)(quoting

 Philips v. Snyder, 2014 U.S. Dist. LEXIS 16097, *16 (E.D. Mich., November 19,

 2014)). Instead, the Supreme Court has held that “[w]here a particular

 Amendment provides an explicit source of constitutional protection against a

 particular sort of government behavior, that Amendment, not the more generalized

 notion of ‘substantive due process,’ must be the guide for analyzing these claims.”

 Jon Jon's Inc. v. City of Warren, 162 F. Supp.3d 592, 605 (E.D. Mich. 2016)

 (quoting Albright v. Oliver, 510 U.S. 266, 273 (1994)). Vote-dilution claims are

 typically analyzed under the Equal Protection Clause. Equal protection also

 applies when a state either classifies voters in disparate ways or places undue

 restrictions on the right to vote. Obama for America v Husted, 697 F3d 423, 428

 (6th Cir. 2012). For the reasons stated in the argument above, there is no violation

 of the Equal Protection Clause. Consequently, there is also no violation of

 substantive due process.

       It is true that the Sixth Circuit has held that the Due Process Clause is

 “implicated” in “exceptional cases where a state’s voting system is fundamentally

 unfair.” League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 478 (6th Cir.

 2008). See also, Northeast Ohio Coalition for the Homeless v. Husted, 696 F.3d

 580, 597 (6th Cir. 2012). But the League of Women Voters case involved “non-

 unform rules, standards, and procedures,” involving missing names from voter



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 rolls, inadequate numbers of voting machines, and refusal of assistance to disabled

 voters which resulted in “massive disenfranchisement and unreasonable dilution of

 the vote.” Id. And NE Coalition for the Homeless involved “poll-worker error

 [that] cause[d] thousands of qualified voters to cast wrong-precinct ballots from the

 correct polling locations.” 696 F.3d at 597. Neither circumstance is present in this

 case. Further, the Sixth Circuit in Philips v. Snyder, 836 F.3d 707, 716 (6th Cir.

 2016) instructed that these cases were to be interpreted narrowly, and that they

 “address[ed] whether states’ entire election processes impaired citizens’ abilities to

 participate in state elections on an equal basis with other qualified voters.”

 Phillips, 836 F.3d at 716. As a result, although case law recognizes that a

 substantive due process right to vote may come into play upon a showing of

 “fundamental unfairness,” the necessary unfairness only arises when a profound

 irregularity comprises “non-uniform rules, standards, and procedures.” Here,

 Plaintiffs do not allege non-uniform rules or standards, and instead premise their

 claim on alleged violations of the rules by unknown individuals. As a result, their

 claims fail to demonstrate any irregularity of such magnitude that it rises to a

 constitutional violation.

       Moreover, Plaintiffs’ allegations are insufficient to establish widespread or

 systemic violation of the Michigan Election Law. For example, Plaintiffs’ claims

 about the ability of challengers to observe the counting of ballots are not consistent



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 with the statute. All that is required is that the “board of election inspectors shall

 provide space for the challengers within the polling place that enables the

 challengers to observe the election procedure and each person applying to vote.”

 Mich. Comp. Laws § 168.733(1). The statute does not, however, provide that

 challengers get to stand a certain distance from the counting of the ballots, or that

 their view must be sufficiently unobstructed. Similarly, the Michigan Election

 Law provides that “a political party [or interested organization] may designate not

 more than 2 challengers to serve in a precinct at any 1 time,” Mich. Comp. Laws §

 168.730, and that “[a]n election challenger is authorized to challenge an election

 procedure that is not being properly performed,” Mich. Comp. Laws §

 168.733(1)(d). Plaintiffs do not appear to claim that there were no Republican

 challengers—only that some were not allowed back in after leaving. (ECF No. 6,

 Am. Complt., ¶62-63 PageID.892-893). Such claims simply fail to rise to the level

 of “fundamental unfairness.”

 VII. Plaintiffs’ state-law statutory claims are without merit.
       In Count IV, Plaintiffs allege various state-law statutory violations. For the

 reasons argued earlier regarding the Eleventh Amendment, mootness, standing,

 and abstention, this Court should not decide these claims. But should the Court

 reach the claims that the State Defendants violated state law, these claims




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 demonstrate Plaintiffs’ complete failure to understand the law and the roles of

 various election officials and are without merit.

                     a.    Mich. Comp. Laws § 168.765a
       Plaintiffs argue that “Defendants habitually and systematically disallowed

 election inspectors from the Republican Party, including Plaintiff, to be present in

 the voter counting place and refused access to election inspectors from the

 Republican Party, including Plaintiff, to be within a close enough distance from the

 absent voter ballots to be able to see for whom the ballots were cast.” (ECF No. 6,

 Am. Compl., PageID.79-80, ¶¶ 215-216.) Plaintiffs cite Mich. Comp. Laws §

 168.765a. (Id., PageID.79, ¶ 214.) These claims are without merit since none of

 the named Defendants—the Governor, Secretary Benson, or the Board—engaged

 in any conduct preventing election inspectors from accessing TCF or have any

 duties with respect to the appointment of election inspectors.

       In this argument, Plaintiffs appear to conflate election inspectors and

 election challengers. A challenger is not the same thing as an election inspector—

 challengers are appointed in different manners and have different responsibilities.

 Compare e.g. Mich. Comp. Laws §§ 168.674 and 168.730.

       For Election Day, city or township election commissioners must appoint at

 least three election inspectors to each election precinct, and “not less than a

 majority of the inspectors shall be present in the precinct polling place during the



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 time the polls are open.” Mich. Comp. Laws § 168.672. This is generally true for

 absent voter counting boards (AVCBs) associated with the precincts as well, and

 the inspectors appointed to AVCBs have the same authority as election inspectors

 at in-person voting precincts. Mich. Comp. Laws § 168.765a(1), (4).5 The

 election commissioners “shall designate 1 appointed election inspector as

 chairperson,” and “shall appoint at least 1 election inspector from each major

 political party and shall appoint an equal number, as nearly as possible, of election

 inspectors in each election precinct from each major political party.” Mich. Comp.

 Laws § 168.674(2). With respect to AVCBs, section 765a(10) provides:

       Subject to this subsection, the clerk of a city or township may allow
       the election inspectors appointed to an absent voter counting board in
       that city or township to work in shifts. A second or subsequent shift of
       election inspectors appointed for an absent voter counting board may
       begin that shift at any time on election day as provided by the city or
       township clerk. However, an election inspector shall not leave the
       absent voter counting place after the tallying has begun until the polls
       close. If the election inspectors appointed to an absent voter counting
       board are authorized to work in shifts, at no time shall there be a gap
       between shifts and the election inspectors must never leave the absent
       voter ballots unattended. At all times, at least 1 election inspector
       from each major political party must be present at the absent
       voter counting place and the policies and procedures adopted by the
       secretary of state regarding the counting of absent voter ballots must
       be followed.




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   Not every jurisdiction chooses to establish AVCBs for the processing and
 counting of absent voter ballots. Mich. Comp. Laws 168.765a(1) (“if a city or
 township decides to use absent voter counting boards”).

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 Mich. Comp. Laws § 168.765a(10) (emphasis added). Under section 765a(4),

 more than one AVCB may be located in a building or place. Mich. Comp. Laws §

 168.765a(4). Read in context, it is reasonable to conclude that subsection 765a(10)

 is intended to ensure proper staffing over the course of election day at an AVCB.

       It is the State Defendants’ understanding that the City of Detroit established

 134 AVCBs for the November election and all 134 counting boards were located at

 the TCF Center—in one place. Section 765a, as the State Defendants interpret it,

 did not require the City of Detroit to have one Republican election inspector

 present at all times at TCF for each of the 134 AVCBs. In other words, the statutes

 did not require Detroit to have 134 Republican (and 134 Democratic) election

 inspectors present at TCF at all times that ballots were being processed and

 counted.

       But regardless, Plaintiffs’ claims are misdirected. The named State

 Defendants did not engage in any activity at TCF and do not have any duties with

 respect to a jurisdiction’s, like the City of Detroit, decision to establish an AVCB,

 where and how an AVCB will be held, or in the appointment of election inspectors

 to serve at AVCBs. The election inspectors for Detroit’s AVCBs at TCF were

 appointed by the City of Detroit’s Board of Election Commissioners. Mich. Comp.

 Laws § 168.765a(2). Thus, who was appointed as an election inspector and how

 many inspectors were appointed, Republican and Democratic, was determined by



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 that Board—not by the Secretary, the Governor, or the Board of State Canvassers.

 And while the Secretary of State exercises supervisory control over local election

 officials, including clerks, election commissioners, and election inspectors, see

 Mich. Comp. Laws § 168.21, the Secretary does not directly supervise an election

 commission’s appointment of inspectors, or directly supervise how many election

 inspectors are present at a polling place or an AVCB at any given time.

         And in any event, the Legislature has not imposed any specific penalty upon

 election officials for failing to comply with section 765a. At best, the election

 commissioners or others could face a possible criminal prosecution. Section

 931(1)(h) makes it a misdemeanor for a person to “willfully fail to perform a duty

 imposed upon that person by [the Michigan Election law], or disobey a lawful

 instruction or order of the secretary of state as chief state election officer or of a

 board of county election commissioners, board of city election commissioners, or

 board of inspectors of election.” Mich. Comp. Laws § 168.931(1)(h). There is no

 statutory support for Plaintiffs’ requested relief, which is to enjoin certification,

 order a recount, or void the election. (ECF No. 6, Am. Compl., PageID.953, ¶

 228.)

                      b.    Mich. Comp. Laws § 168.733.
         Plaintiffs argue that “Defendants habitually and systematically failed to

 provide space for election inspectors from the Republican party, including



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 Plaintiff, to observe election procedure, failed to allow the inspection of poll

 books, failed to share the names of the electors being entered in the poll books,

 failed to allow the examination of each ballot as it was being counted, and failed to

 keep records of obvious and observed fraud.” (ECF. No. 6, Am. Complt.,

 PageID.951, ¶ 218.) Here, Plaintiffs again conflate inspectors and challengers.

       Challengers are appointed under Mich. Comp. Laws § 168.730. Under

 section 733(2), “[t]he board of election inspectors shall provide space for each

 challenger, if any, at each counting board that enables the challengers to observe

 the counting of the ballots. A challenger at the counting board may do 1 or more of

 the activities allowed in subsection (1), as applicable.” Mich. Comp. Laws §

 168.733(2) (emphasis added). Subsection 733(1) provides, in pertinent part, for

 the following duties and authority of challengers:

       A challenger may do 1 or more of the following:
        (a) Under the scrutiny of an election inspector, inspect without
       handling the poll books as ballots are issued to electors and the
       electors' names being entered in the poll book.
        (b) Observe the manner in which the duties of the election inspectors
       are being performed.
        (c) Challenge the voting rights of a person who the challenger has
       good reason to believe is not a registered elector.

        (d) Challenge an election procedure that is not being properly
       performed.

         (e) Bring to an election inspector’s attention any of the following:



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               (i) Improper handling of a ballot by an elector or election
              inspector.
               (ii) A violation of a regulation made by the board of election
              inspectors pursuant to section 742.

               (iii) Campaigning being performed by an election inspector or
              other person in violation of section 744.

               (iv) A violation of election law or other prescribed election
              procedure.
        (f) Remain during the canvass of votes and until the statement of
       returns is duly signed and made.

         (g) Examine without handling each ballot as it is being counted.
        (h) Keep records of votes cast and other election procedures as the
       challenger desires.
         (i) Observe the recording of absent voter ballots on voting machines.
 Mich. Comp. Laws § 168.733(1). Section 733(3) provides that “disorderly conduct

 is sufficient cause for the expulsion of a challenger from the polling place or the

 counting board.” Mich. Comp. Laws § 168.733(3). And that “election inspectors

 and other election officials on duty shall protect a challenger in the discharge of his

 or her duties.” Id. Section 733(4) similarly provides that a “person shall not

 threaten or intimidate a challenger while performing an activity allowed under

 subsection [733](1).” Mich. Comp. Laws § 168.733(4). 6



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   The Secretary of State has published guidance on the rights of challengers and
 poll watchers. See, The Appointment, Rights and Duties of Election Challengers
 and Poll Watchers, available at https://www.michigan.gov/documents
 /SOS_ED_2_CHALLENGERS_77017_7.pdf.


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       The penalty or punishment for interfering with the rights of a challenger is

 set forth in section 734:

       Any officer or election board who shall prevent the presence of any
       such challenger as above provided, or shall refuse or fail to provide
       such challenger with conveniences for the performance of the duties
       expected of him, shall, upon conviction, be punished by a fine not
       exceeding $1,000.00, or by imprisonment in the state prison not
       exceeding 2 years, or by both such fine and imprisonment in the
       discretion of the court.
 Mich. Comp. Laws § 168.734.

       Under these statutes, Plaintiffs claims against the State Defendants are

 misdirected and without merit. The State Defendants did not fail to do anything or

 interfere with any Republican challenger’s rights at the TCF Center. The Governor

 and the Board of State Canvassers have no role in election-day activities conducted

 at the city and township level. Indeed, Plaintiffs make no allegations that that they

 do. And while the Secretary of State exercises supervisory control over local

 election officials, including city and township clerks and election inspectors, see

 Mich. Comp. Laws § 168.21, election inspectors have primary supervisory

 authority over polling places and AVCBs on Election Day. See Mich. Comp.

 Laws § 168.678 (“Each board of election inspectors shall possess full authority to

 maintain peace, regularity and order at its polling place, and to enforce obedience

 to their lawful commands during any . . . election[.]”) It is the election inspectors

 at the AVCBs that have the duty to provide space for challengers and to ensure that



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 their rights are not being infringed upon—not the Defendants. If Republican

 challengers were experiencing difficulties at TCF it was the challengers’ obligation

 to bring it to the attention of the appointed election inspectors present at TCF, who

 could then have sought further guidance from City of Detroit election officials

 present at TCF to address or rectify the situation.

       In addition, sections 733 and 734 do not provide Plaintiffs with a cause of

 action or right enforceable through civil proceedings. The Michigan Legislature

 determined in section 734 that violations of the rights of challengers as set forth in

 section 733 should be enforced through criminal proceedings. If Republican

 challengers believe that their rights were violated their remedy is to make a

 complaint to law enforcement for investigation and possible prosecution. See

 Mich. Comp. Laws §§ 168.734, 168.931(1)(h), 168.939, 168.940, 168.941.

                     c.    Mich. Comp. Laws §§ 168.765 and 168.764a.
       Plaintiffs allege that the State Defendants violated sections 765 and 764a.

 (ECF No. 6, Am. Complt., PageID.952, ¶¶ 220-224.) But this allegation too, is

 without merit since the statutes impose no duties or obligations on the State

 Defendants.

       Section 765(5) provides that:

       On or before 8 a.m. on election day, the clerk shall post in the clerk's
       office or otherwise make public the number of absent voter ballots the
       clerk distributed to absent voters and the number of absent voter ballot
       return envelopes containing the marked ballots of absent voters


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       received by the clerk before election day and to be delivered to the
       board of election inspectors or the absent voter counting boards under
       this act.
 Mich. Comp. Laws § 168.765(5) (emphasis added). That section goes on to

 provide that:

       On or before 9 p.m. on election day, the clerk shall post in the clerk's
       office or otherwise make public the number of absent voter ballot
       return envelopes containing the marked ballots of absent voters
       received by the clerk on election day and delivered to the board of
       election inspectors . . . along with the total number of absent voter
       ballot return envelopes containing the marked ballots of absent voters
       received by the clerk both before and on election day and delivered to
       the board of election inspectors or the absent voter counting boards
       under this act. . . .
 Id. (emphasis added). Section 764a instructs voters to return their completed AV

 ballots to the clerk’s office by 8 p.m. on election day. Mich. Comp. Laws §

 168.764a.

       Section 765(5) does not impose any duty or obligation upon Secretary

 Benson, Governor Whitmer, or the Board. Rather, it imposes a duty on the local

 clerks to post the required information. With respect to Plaintiffs’ claims it was the

 obligation of the City of Detroit Clerk to post the required information by the

 required time. The State Defendants do not have any personal knowledge of

 whether the City of Detroit met these reporting or disclosure requirements. There

 is no obligation under these statutes for the 1,500 or so local clerks to

 contemporaneously report compliance with the requirements to the Secretary of



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 State (or any other Defendant) on election day. Plaintiffs simply have no claim

 against the named Defendants for the alleged violation of these statutes.

       And regardless, the Legislature has not imposed any specific penalty upon

 clerks for failing to comply with section 765(5). At best, a clerk could face a

 possible criminal prosecution. Again, section 931(1)(h) provides that “[a] person

 shall not willfully fail to perform a duty imposed upon that person by this act. . . .”

 Mich. Comp. Laws § 168.931(1)(h). But, as already stated above, there is no

 support in Michigan law for the sweeping relief requested by Plaintiff for the

 purported violation of these statutes.

                     d.     Mich. Comp. Laws § 168.730.
       Last, Plaintiffs allege that Secretary Benson and “election officials in Wayne

 County” violated the rights of Republican challengers under sections 730 through

 734 to participate and meaningfully observe the processing and counting of AV

 ballots. (ECF No. 6, Am. Complt., PageID.952-953, ¶¶ 225-227.) Of course,

 Wayne County is not a defendant here, and as explained above, Secretary Benson

 does not directly supervise the activities of election inspectors and challengers at

 polling places and AVCBs on election day, or the days before or after election day.

 Polling places and AVCBs are supervised by the appointed election inspectors and

 then by the city or township clerks and their deputies. Further, the remedy for

 interference with the rights of challengers is a subsequent criminal prosecution.



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       Because Plaintiffs’ statutory claims as pleaded against the named

 Defendants are completely without merit, Plaintiffs have no likelihood of

 succeeding on the merits of these claims.

                  CONCLUSION AND RELIEF REQUESTED
       For these reasons, Defendants Governor Gretchen Whitmer, Secretary of

 State Jocelyn Benson, and the Michigan Board of State Canvassers respectfully

 request that this Honorable Court enter an Order granting their motion and

 dismissing the Amended Complaint in its entirety and with prejudice, together with

 any other relief that the Court determines to be appropriate under the

 circumstances, including the award of sanctions and/or costs and fees incurred in

 defending against this baseless lawsuit.

                                                 Respectfully submitted,

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 Dated: December 22, 2020




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                         CERTIFICATE OF SERVICE

 I hereby certify that on December 22, 2020, I electronically filed the above
 document(s) with the Clerk of the Court using the ECF System, which will provide
 electronic copies to counsel of record.

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